18-13359-shl           Doc 44       Filed 11/08/18       Entered 11/08/18 11:16:16              Main Document
                                                        Pg 1 of 4


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
_______________________________________
In re                                                          )
                                                               )         Chapter 11
REPUBLIC METALS REFINING                                       )
CORPORATION,                                                   )         Case No. 18-13359 (shl)
                                                               )
                  Debtor.                                      )
_______________________________________
In re:                                                         )         Chapter 11
                                                               )
REPUBLIC METALS CORPORATION,                                   )         Case No. 18-13360 (shl)
                                                               )
                            Debtor.                            )
                                                               )
_______________________________________
In Re:                                                         )         Chapter 11
                                                               )
REPUBLIC CARBON COMPANY, LLC,                                  )         Case No. 18-13361 (shl)
                                                               )
                            Debtor.                            )
                                                               )
_______________________________________


                                  ORDER DIRECTING
                  JOINT ADMINISTRATION OF RELATED CHAPTER 11 CASES

            Upon the motion (the “Motion”)1 of Republic Metals Refining Corporation (“Republic

 Refining”), Republic Metals Corporation (“Republic Metals”), and Republic Carbon Company,

 LLC (“Republic Carbon”), as debtors and debtors-in-possession (collectively, the “Debtors”), in

 the above-referenced chapter 11 cases (the “Chapter 11 Cases” or “Cases”), pursuant to Rule

 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), for entry of an

 order directing the joint administration of the Debtors' related chapter 11 cases for procedural

 purposes only, all as more fully set forth in the Motion; and the Court having jurisdiction to

 consider the Motion and the relief requested herein in accordance with 28 U.S.C. §§ 157 and


 1
     Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.


 46470201;6
18-13359-shl      Doc 44     Filed 11/08/18      Entered 11/08/18 11:16:16          Main Document
                                                Pg 2 of 4


1334 and the Amended Standing Order of Reference M-431, dated January 31, 2012 (Preska,

C.J.); and this being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper

before the Court pursuant to 28 U.S.C. § 1408 and 1409; and due and proper notice of the

Motion having been provided to the Notice Parties; and such notice having been adequate and

appropriate under the circumstances, and it appearing that no other or further notice need be

provided; and the Court having reviewed the Motion; and the Court having held a hearing on

November 6, 2018 to consider the relief requested in the Motion (the “Hearing”); and upon the

First Day Declaration, filed contemporaneously with the Motion, and the record of the Hearing;

and the Court having determined that the legal and factual bases set forth in the Motion establish

just cause for the relief granted herein; and it appearing the relief requested in the Motion is in

the best interests of the Debtors, their estates, creditors, and all parties in interest; and upon all of

the proceedings had before the Court and after due deliberation and sufficient cause appearing

therefor, it is hereby ORDERED that:

         1.     The Motion is granted to the extent set forth herein.

         2.     The above-captioned cases are consolidated for procedural purposes only and

shall be jointly administered under Case No. 18-13359 by the Court in accordance with

Bankruptcy Rule 1015(b).

         3.     Nothing contained in this Order shall be deemed or construed as directing or

otherwise affecting the substantive consolidation of any of the Debtors' chapter 11 cases.




46470201;6
     18-13359-shl      Doc 44      Filed 11/08/18       Entered 11/08/18 11:16:16             Main Document
                                                       Pg 3 of 4


              4.     The caption of the jointly administered cases shall read as follows:



    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    _______________________________________
    In re                                                   )
                                                            )         Chapter 11
    REPUBLIC METALS REFINING                                )
    CORPORATION, et al., 1                                  )         Case No. 18-13359 (shl)
                                                            )
                      Debtors.                              )         (Jointly Administered)
    _______________________________________
1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY 10036
(3194), Republic Metals Corporation, 12900 N.W. 38th Avenue, Miami, FL 33054 (4378), and Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833).

              5.     A docket entry shall be made in the chapter 11 cases of Republic Metals

     Corporation and Republic Carbon Company, LLC, substantially as follows:

                     An Order has been entered in accordance with Rule 1015(b) of
                     the Bankruptcy Rules directing the procedural consolidation and
                     joint administration of the chapter 11 cases of Republic Metals
                     Refining Corporation, Republic Metals Corporation, and
                     Republic Carbon Company, LLC. The docket in Case No. 18-
                     13359 should be consulted for all matters affecting this case.

              6.     The Debtors shall be permitted to file the monthly operating reports required by

     the Operating Guidelines and Reporting Requirement for Debtors in Possession and Trustees,

     issued by the Executive Office of United States Trustees (revised December 14, 2017), by

     consolidating the information required for each debtor in one report, provided however, that the

     Debtors shall track and report monthly disbursements on a Debtor-by-Debtor basis.




     46470201;6
18-13359-shl     Doc 44    Filed 11/08/18     Entered 11/08/18 11:16:16        Main Document
                                             Pg 4 of 4


7.       The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, and/or enforcement of this Order.

Dated: New York, New York
       November 8, 2018


                                              /s/ Sean H. Lane
                                              UNITED STATES BANKRUPTCY JUDGE




46470201;6
